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Attorneys for Plaintiffs


 UNITED STATES DISTRICT COURT, DISTRICT OF MONTANA
                   BUTTE DIVISION

THE IMPERIAL SOVEREIGN COURT
OF THE STATE OF MONTANA; ADRIA
JAWORT; RACHEL CORCORAN;                                 Cause No.
MONTANA BOOK COMPANY; IMAGINE                        CV-23-50-BU-BMM
BREWING COMPANY, LLC d/b/a
IMAGINE NATION BREWING
COMPANY; BUMBLEBEE AERIAL                         Statement of Undisputed
FITNESS; THE WESTERN MONTANA                         Facts in Support of
COMMUNITY CENTER; MONTANA                           Plaintiffs’ Motion for
PRIDE; THE GREAT FALLS LGBTQ+                      Summary Judgment on
COMMUNITY CENTER; THE ROXY                             Counts IV & V
THEATER; and THE MYRNA LOY,

                           Plaintiffs,

             vs.

 AUSTIN KNUDSEN; ELSIE ARNTZEN;
 J.P. GALLAGHER; and THE CITY OF
 HELENA,

                      Defendants.
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I.    Legislative History

      1.    Representative Braxton Mitchell introduced House Bill 359

(“HB 359”) on January 28, 2023.1 Ex. 1, HB 359, Version 1 (introduced

Jan. 28, 2023).2

      2.    Initially, HB 359 sought to prevent minors from viewing drag

performances       in   “nightclub[s],   bar[s],   restaurant[s],    or    similar

commercial enterprise[s],” or “publicly funded” libraries and schools.

This original version of HB 359 did not limit its scope to “obscene”

performances. Id. at 1–2.

      3.    At     a    Senate   Judiciary   hearing    on   April    4,    2023,

Representative Mitchell expressed his understanding of the necessity for

HB 359: “We already prohibit children from . . . viewing obscene material,

viewing pornography, going to strip clubs . . . This is not any type of First

Amendment violation, and it’s time we add drag shows to that list.”

Mont. Leg., S. Judiciary Comm. Hrg. at 8:55:10–8:55:27 (Apr. 4, 2023).3


1 “Legislative history is properly a subject of judicial notice.”    Anderson
v. Holder, 673 F.3d 1089, 1093–94 n.1 (9th Cir. 2012).
2 Available at https://leg.mt.gov/bills/2023/HB0399//HB0359_1.pdf.
3 Available at http://sg001-

harmony.sliq.net/00309/Harmony/en/PowerBrowser/PowerBrowserV2/2
0170221/-1/47987?agendaId=269135.

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      4.    Representative Mitchell also made the following statements

before the Senate Judiciary Committee:

      Nationwide . . . drag queens are entering schools, half-naked,
      and reading to children. The Democrat Attorney General in
      Michigan has called for a drag queen in every school in
      America to ‘help children when they’re having emotional
      issues.’ Well, I think that’s what counselors are for, not
      hypersexualized drag queens. There’s clearly a sick agenda
      being pushed here.

Id. at 8:54:46–8:55:06.

      5.    Proponent of the bill Jeff Laszloffy echoed Mitchell’s

sentiments, stating, “there are no little kids out there begging to be told

a story by a drag queen. But suddenly, for some strange reason, drag

queens are begging to tell stories to little kids.” Id. at 8:56:22–8:56:34.

      6.    Citizen proponent Jessie Browning added, “Drag queens have

been inserting themselves in areas children frequent, such as libraries

and schools,” and stated that exposure to drag queens during childhood

can lead to “depression, eating disorders, anxiety, . . . sexual acts at an

earlier age, . . . intimacy issues, or sex addictions.” Id. at 9:01:45–9:02:29.

      7.    Another proponent, Kathy Butterfield, stated, “parents who

support bringing their minors to [drag shows] are just as liable as the

performers and should be held accountable. . . . Adults that support



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subjecting their minors to these shows are fulfilling their own dreams

and affecting minors in a very, very negative and profound way for life.”

Id. at 9:03:28–9:03:50.

     8.    But not a single proponent who testified in support of HB 359

at the April 4, 2023 Senate Judiciary Committee hearing cited any

evidence of inappropriately sexual events occurring in Montana. See

generally id. at 8:55:45–9:04:14.

     9.    In his closing remarks at the April 4, 2023 Senate Judiciary

hearing, Representative Mitchell further explained his reasoning for

sponsoring the bill:

     Due to the mature themes surrounding drag shows and the
     exposure to inappropriate activities, children may adopt and
     accept certain stereotypes or attitudes that could lead to
     social, psychological, linguistic difficulties. Children may also
     create an inadequate understanding of gender roles and
     experiences, which is damaging to their long-term social and
     emotional development.

Id. at 11:10:05–11:10:20.

     10.   HB 359 was amended several times throughout the legislative

process.




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        11.   A third, amended version sought to limit HB 359’s scope to

“obscene” performances, as already defined in Montana law.               Ex. 2,

HB 359, Version 3 (Apr. 14, 2023).4

        12.   The definition of “obscene” incorporated by the third amended

version of HB 359 uses the three prongs of the Miller test. Id.; Mont.

Code Ann. § 45-8-201; Miller v. California, 413 U.S. 15 (1973).

        13.   A fourth amended version was proposed by a co-sponsor of

HB 359, Senator Chris Friedel, on April 17, 2023. Mont. Leg., S. Fl. Sess.

at 18:11:13–18:11:20 (Apr. 17, 2023).5

        14.   Senator Friedel’s amendments removed all references to

“drag” and instead focused on “adult-oriented” performances and

businesses. Ex. 3, HB 359, 2nd Reading Amend. (adopted Apr. 17, 2023).6

        15.   Specifically, the fourth version of HB 359 prohibited “adult-

oriented business[es]” from allowing minors “to enter the premises . . .

during an adult-oriented performance,” and imposed restrictions on




4   Available at https://leg.mt.gov/bills/2023/HB0399//HB0359_3.pdf.
5   Available at http://sg001-
harmony.sliq.net/00309/Harmony/en/PowerBrowser/PowerBrowserV2/2
0170221/-1/46256?agendaId=273842.
6   Available at
https://leg.mt.gov/bills/2023/AmdHtmS/HB0359.003.002.PDF.

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“adult-oriented performance[s]” in state-funded schools and libraries and

on public property. Id.

     16.    While defending his amendment on the Senate floor, Senator

Friedel explained that, although he supports the intent of HB 359, he

“had heartburn over [the] bill, and [he] talked to a lot of attorneys” about

it. Mont. Leg., S. Fl. Sess. at 18:11:37–18:11:42 (Apr. 17, 2023).

     17.    Senator Friedel also stated, “I can tell you right now, if that

bill goes as [it was written], even the most conservative judge will strike

it down for unconstitutionality.” Id. at 18:11:50–18:11:59.

     18.    Senator Friedel argued that his amendment to HB 359 would

ensure that the Montana Attorney General could defend the bill in court.

Id. at 18:12:00–18:12:12.

     19.    Other bill proponents were unpersuaded.

     20.    Senator   Karl   Glimm     characterized    Senator      Friedel’s

amendment as “not friendly”; he argued that the amendment “completely

derails the intent of the legislation” and “allows all these [drag

performances] under art, so it completely guts the bill.” Id. at 18:12:18–

18:12:50.




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        21.   Senator Brad Molnar similarly opposed the amendment,

explaining that the bill originally had been motivated by public outrage

over “drag queen story hour[s]” at ZooMontana, a private business, and

at “the library” (which was not further identified).         Id. at 18:13:18–

18:13:27.      He argued that Senator Friedel’s amendment did not

adequately prohibit such activities:

        I don’t know that a story hour for children, though performed
        by people in full drag, would actually be covered by this bill if
        it were amended in this form. In the first place I’m not sure
        with a six-year-old if there is a prurient interest, and I’m
        positive that reading to children, even in drag, would not be
        considered an adult-oriented performance.

Id. at 18:13:38–18:14:10.

        22.   After Senator Friedel’s amendments passed, Representative

Mitchell moved to send the bill to a free conference committee. Mont.

Leg., H. Fl. Sess. at 16:54:45–16:55:25 (Apr. 24, 2023).7

        23.   During the free conference committee hearing on HB 359,

Senator Friedel testified that he introduced the “drag story hour”

amendments based on his belief that “we need to keep things like sexual




7   Available at http://sg001-
harmony.sliq.net/00309/Harmony/en/PowerBrowser/PowerBrowserV2/2
0170221/-1/49742?agendaId=276646.

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orientation out of schools and out of libraries.”          Mont. Leg., Free

Conference Comm. Hrg. at 12:11:05–12:11:10 (Apr. 26, 2023).8

        24.   During the free conference committee hearing on HB 359,

Representative Mitchell introduced amendments that would become the

fifth and final version of HB 359. Mont. Leg., Free Conference Comm.

Hrg. on HB 359 (Apr. 26, 2023);9 Ex. 4, HB 359 (enrolled May 9, 2023).10

        25.   Representative Mitchell’s fifth version of the bill reintroduced

the restrictions on “drag” that Senator Friedel’s amendment had

removed. Compare Ex. 4, with Ex. 3. In Representative Mitchell’s words,

“The reason we have to specifically . . . say that we’re prohibiting story

hours is because all they do is call it art. That’s how they get around it.”

Mont. Leg., Free Conference Comm. Hrg. at 12:29:10-12:29:17 (Apr. 26,

2023).




8   Available at https://sg001-
harmony.sliq.net/00309/Harmony/en/PowerBrowser/PowerBrowserV2/2
0230426/-1/49764#handoutFile_.
9   Available at
http://laws.leg.mt.gov/legprd/LAW0240W$CMTE.ActionQuery?P_SESS
=20231&P_COM_NM=Free+Conference+Committee+on+HB+359&P_A
CTN_DTM=04/26/2023&U_ACTN_DTM=04/26/2023&Z_ACTION2=Fin
d.
10 Available at https://leg.mt.gov/bills/2023/billpdf/HB0359.pdf.



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        26.   Neither Senator Friedel’s fourth set of amendments to

HB 359 nor Representative Mitchell’s fifth and final version of HB 359

incorporate the Miller test. See generally Ex. 3; Ex. 4; Mont. Code Ann.

§ 45-8-201.

        27.   In its final form, HB 359 prohibits a wider range of conduct

than covered by preexisting Montana obscenity law in Montana Code

Annotated § 45-8-201. See Ex. 4; Mont. Code Ann. § 45-8-201.

        28.   On a subsequent House floor session, Representative Mitchell

explained the free conference committee’s amendments: “The reason [we

specifically prohibit ‘drag’ story hour in the bill] is because all they have

to do is call it ‘art’ story hour, and they get away with it.” Mont. Leg., H.

Fl. Sess. at 14:22:00–14:22:16 (May 1, 2023).11

        29.   HB 359 went into effect on May 22, 2023. Ex. 4, HB 359, § 7.

II.     HB 359

        30.   HB 359 targets two related yet distinct modes of expressive

conduct. See Ex. 4, HB 359, §§ 2–3.




11   Available at http://sg001-
harmony.sliq.net/00309/Harmony/en/PowerBrowser/PowerBrowserV2/2
0170221/-1/46179?agendaId=278282.

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      31.      First, HB 359 prohibits the holding of a “drag story hour” in

“[a] school or library that receives any form of funding from the state . . .

during      regular    operating   hours    or   at   any   school-sanctioned

extracurricular activity.” Id. § 3(2).

      32.       HB 359 defines a “drag story hour” as “an event hosted by a

drag queen or drag king who reads children’s books and engages in other

learning activities with minor children present.” Ex. 4, HB 359, § 1(3).

      33.      HB 359 does not define “other learning activities.” See id. § 1.

      34.      HB 359 defines “drag king” and “drag queen” as “a male or

female performer who adopts a flamboyant or parodic [male or feminine]

persona with glamorous or exaggerated costumes and makeup.                  Id.

§ 1(1), (2).

      35.      HB 359 does not define “flamboyant,” “parodic,” “glamorous,”

“exaggerated,” “costumes,” or “makeup.” See id. § 1.

      36.      A person who violates the drag story hour restriction faces

criminal penalties. Upon conviction, “[a] library, a school, or library or

school personnel, [or] a public employee” “shall be fined $5,000.” Id.

§ 3(4).




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     37.   If the person who violates the drag story hour restriction is a

schoolteacher, administrator, or specialist, “proceedings must be

initiated to suspend the . . . certificate of the offender under [Montana

Code Annotated §] 20-4-110.”         Id.   Upon a second or subsequent

conviction, “proceedings must be initiated to permanently revoke the

teacher, administrator, or specialist certificate of the offender.” Id.

     38.   Any person involved in organizing or conducting a drag story

hour—“a person who knowingly promotes, conducts, or participates as a

performer”—is subject to civil liability. Ex. 4, HB 359, § 4(1).

     39.   Any minor who attends a drag story hour—even with a

guardian’s consent—may sue within ten years. Id. § 4(3). Plaintiffs who

prevail in enforcing HB 359 are guaranteed statutory damages of $5,000

and attorney’s fees and costs. They are also entitled to “actual damages,

including damages for psychological, emotional, economic, and physical

harm.” Id. § 4(2).

     40.   The citizen-suit provision is not limited to drag story hours

occurring after HB 359’s effective date. Id. § 4.

     41.   Second,    HB     359   prohibits   certain   “sexually   oriented

performances.” Id. § 3(3).



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      42.      HB 359 defines “sexually oriented performance” as “a

performance that, regardless of whether performed for consideration, is

intended to appeal to a prurient interest in sex and features:”

      (a) the purposeful exposure, whether complete or partial, of:
          (i)   a human genital, the pubic region, the human
                buttocks, or a female breast, if the breast is exposed
                below a point immediately above the top of the
                areola; or
          (ii) prosthetic genitalia, breasts, or buttocks;
      (b) stripping; or
      (c) sexual conduct.

Id. § 1(10).

      43.      HB 359 defines “sexually oriented” as “any simulation of

sexual activity, stripping, salacious dancing, any lewd or lascivious

depiction or description of human genitals or of sexual conduct as defined

in [Montana Code Annotated §] 45-5-625.” Ex. 4, HB 359 § 1(8). This

cross-reference provides HB 359’s only definition of “sexual conduct.”

      44.      There is no clear indication that the meaning of “sexual

conduct”       within   the   separate   definition   of   “sexually   oriented

performance” is similarly constrained by cross-reference to Mont. Code

Ann. § 45-5-625. Ex. 4, HB 359.




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      45.   “Stripping” is not limited to performances involving nudity or

semi-nudity; it is defined as the “removal or simulated removal of

clothing in a sexual manner for” entertainment. Ex. 4, HB 359, § 1(11).

      46.   HB 359 does not define “sexual manner.” See id. § 1.

      47.   HB 359 does not limit the prohibition on “sexually oriented

performances” to live performances. See Ex. 4, HB 359, § 1.

      48.   HB 359 does not define “performance.” Id.

      49.   “Sexually oriented performances” are prohibited in schools

and libraries that receive any state funding, id. § 3(1), (2); “on public

property in any location where the performance is in the presence of an

individual under the age of 18,” id. § 3(3)(a); and “in a location owned by

an entity that receives any form of funding from the state,” even if minors

are not present, id. § 3(3)(b).

      50.   Schools and libraries that receive “any form of funding from

the state” may not allow sexually oriented performances “during regular

operating hours or at any school-sanctioned extracurricular activity.” Id.

§ 3(2).

      51.   “Sexually oriented performances” are restricted in “sexually

oriented businesses” to adult-only audiences. Id. § 2(1).



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     52.    A “[s]exually oriented business” is defined as “a nightclub,

bar, restaurant, or similar commercial enterprise that:”

     (a) provides for an audience of two or more individuals:
         (i)  live nude entertainment or live nude performances;
              or
         (ii) a sexually oriented performance; and
     (b) authorizes on-premises consumption of alcoholic
         beverages.

Ex. 4, HB 359, § 1(9).

     53.    Violators of the provisions governing “sexually oriented

performances” face various criminal and civil penalties. Id. §§ 2–4.

     54.    Business owners, operators, managers, and employees of

“sexually oriented businesses” are subject to mandatory criminal fines

ranging from $1,000 to $10,000 and the loss of the business’s license. Id.

§ 2(2).    Upon conviction, “[a] library, a school, or library or school

personnel, a public employee, [an entity that receives state funds], or an

employee of the entity” “shall be fined $5,000.” Id. § 3(4).

     55.    Civil liability also applies to anyone who “knowingly

promotes, conducts, or participates as a performer” in a “sexually

oriented performance.” Id. § 4(1). Any minor who attends a “sexually

oriented performance”—even with a guardian’s consent—may sue within

ten years. Id. § 4(3). Plaintiffs are guaranteed statutory damages of


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$5,000 and attorney’s fees and costs. Plaintiffs are also entitled to “actual

damages, including damages for psychological, emotional, economic, and

physical harm.” Id. § 4(2).

III.   Plaintiffs

       56.   Adria Jawort is a transgender woman, member of the

Northern Cheyenne Tribe, and part of the Two-spirit community. Ex. 5,

Decl. of Adria Jawort, ¶¶ 2, 3 (July 17, 2023).

       57.   On June 2, 2023, Jawort was scheduled to give a lecture on

Indigenous and transgender history at the Butte Public Library. Id. ¶ 6.

       58.   The day before the lecture, a librarian at the Butte Public

Library informed Jawort that her lecture was cancelled. Id. ¶ 7.

       59.   J.P. Gallagher, the chief executive of the City-County of

Butte-Silver Bow, Montana, determined that, after the passage of

HB 359, “it is too much of a legal risk to have a transgendered person in

the library.” Id. ¶¶ 7–8.

       60.   After Jawort’s event was cancelled, the City and County of

Butte-Silver Bow posted the following message on its Facebook page:

       In accordance with Governor Gianforte signing HB359 into
       law, our county cannot allow an event where a drag king or
       queen reads children’s books and engages in other learning
       activities with minor children present. Due to this law, we


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       have had to cancel the speaker at the Butte-Silver Bow
       Library that was scheduled for Friday.

Id. ¶ 8.

       61.   For her lectures, Jawort does not dress in “drag.” Nor does

she identify as a “drag queen” or “drag king.” Id. ¶ 10.

       62.   Rachel Corcoran is a licensed teacher in Montana. Ex. 6, Decl.

of Rachel Corcoran, ¶ 3 (July 17, 2023).

       63.   Corcoran dresses as fictional and historical characters,

without regard for the gender or sex of the person being portrayed. Id.

¶ 8.

       64.   Corcoran fears that continuing to dress in gendered costumes

puts her in violation of HB 359’s criminal, civil, and occupational

penalties, yet she plans to continue this practice. Id. ¶¶ 10–11.

       65.   The Imperial Sovereign Court of the State of Montana

(“Imperial Court”) is a Montana nonprofit organization that produces

community-based drag performances that explore multiple gender

expressions in a safe, educational, and entertaining atmosphere. Ex. 7,

Decl. of Annatheia Smith, ¶¶ 3, 7 (July 17, 2023); Ex. 8, Decl. of Mitchell

Locher, ¶¶ 3, 7 (Nov. 22, 2023).




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     66.   The Imperial Court’s mission is “to educate and advocate for

LGBTQ+ individuals and allies through the production of community-

based drag performances that explore multiple gender expressions in an

entertaining and educational atmosphere and create a safe and

welcoming environment.” Ex. 7, ¶ 7; Ex. 8, ¶ 7.

     67.   The Imperial Court puts on a variety of age-appropriate drag

performances and takes steps to ensure that minors do not attend adult-

only performances. Ex. 7, ¶ 12; Ex. 8, ¶¶ 12.

     68.   At all-ages performances, the Imperial Court limits their

repertoire to age-appropriate lip syncing and costumes. Ex. 7, ¶¶ 13–14;

Ex. 8, ¶¶ 13–14.

     69.   All Imperial Court performances include “flamboyant” and/or

“exaggerated” costumes and makeup as contemplated by HB 359. Ex. 7,

¶ 15; Ex. 8, ¶ 15.

     70.   Imperial Court drag shows may include “sexually oriented

performance[s],” as defined by HB 359. Ex. 7, ¶ 15; Ex. 8, ¶ 15.

     71.   Since the passage of HB 359, the Imperial Court has had

multiple shows cancelled, postponed, or modified. Ex. 7, ¶ 18; Ex. 8, ¶ 18.




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      72.   A show at the Museum of the Rockies originally scheduled for

August 26, 2023, was repeatedly rescheduled with no indication that it

will ever happen. Ex. 7, ¶ 19; Ex. 8, ¶ 19.

      73.   The Imperial Court had a drag story hour event scheduled for

June 22, 2023, at Zoo Montana in Billings, Montana, but it was postponed

indefinitely. Ex. 7, ¶ 20; Ex. 8, ¶ 20.

      74.   For scheduled performances at Red Lodge Pride on June 2 and

3, 2023, the Imperial Court hired police officers for the performers’ safety,

restricted all-ages performances, and modified the performers’ costumes

because of concern of HB 359’s penalties. Ex. 7, ¶ 21; Ex. 8, ¶ 21.

      75.   At Missoula Pride on June 17, 2023, event organizers chose

not to advertise the Imperial Court’s drag story hour and modified

elements of its all-ages show because of concern of HB 359’s penalties.

Ex. 7, ¶ 22; Ex. 8, ¶ 22.

      76.   At Billings Pride, held from June 22 to June 24, 2023, event

organizers did not advertise the Imperial Court’s drag story hour, and

the Imperial Court was forced to limit its performances due to fears of

liability under HB 359. Ex. 7, ¶ 23; Ex. 8, ¶ 23.




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     77.   At Anaconda Pride on June 30, 2023, the Imperial Court

changed their 16+ show to adults-only. Ex. 7, ¶ 24; Ex. 8, ¶ 24.

     78.   At Butte Pride on July 1, 2023, the Imperial Court self-

imposed dress restrictions and chose not to advertise an all-ages drag

show. Ex. 7, ¶ 25; Ex. 8, ¶ 25.

     79.   At Libby Pride on July 8, 2023, the Imperial Court modified

performances and chose not to advertise. Ex. 7, ¶ 26; Ex. 8, ¶ 26.

     80.   The Imperial Court is a membership organization, and, since

the passage of HB 359, its members have been fearful of legal action the

State of Montana may take against them if they continue their

performances. Ex. 7, ¶¶ 4, 28; Ex. 8, ¶¶ 4, 27.

     81.   The Western Montana Community Center and the Great

Falls LGBTQ+ Center (“The Centers”) offer community events,

programs, and services aimed at supporting the Montana LGBTQ+

community and its allies.     Ex. 9, Decl. of James Bamfield, ¶¶ 2–3

(Nov. 22, 2023); Ex.16, Decl. of Andy Nelson, ¶¶ 5–7 (Nov. 22, 2023).

     82.   The Centers host events that sometimes include drag

performances, and they have hosted family-friendly, age-appropriate

events featuring drag performers. Ex. 9, ¶¶ 9–10; Ex. 16, ¶ 9.



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     83.    HB 359 has already chilled The Centers’ speech. Ex. 9, ¶ 14;

Ex. 16, ¶ 13–14.

     84.    The Great Falls LGBTQ+ Center is concerned about liability

under HB 359 because the law appears to prohibit some of the

performances it hosts. Ex. 9, ¶ 13.

     85.    Specifically, the Great Falls LGBTQ+ Center modified its

annual Halloween party in 2023: whereas past Halloween events

featured drag queen appearances, this year’s party did not, due to fear of

HB 359’s impact. Ex. 9, ¶ 14.

     86.    Similarly, the Western Montana Community Center has

been unable to determine the precise scope of HB 359 and has already

modified its speech and conduct out of fear of violating the law. Ex. 16,

¶¶ 12–13.

     87.    For example, the Western Montana Community Center has

restricted audiences for drag performances that were not age-restricted

in prior years. Id. ¶ 14.

     88.    During Missoula Pride in 2023, the Western Montana

Community Center modified its annual drag brunch at the University of

Montana because the venue was publicly owned. Id.



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     89.   Some drag performers associated with the Western Montana

Community Center refused to perform during Missoula Pride, citing fear

of HB 359’s repercussions. Id. ¶ 15.

     90.   Bumblebee Aerial Fitness is a fitness studio in Helena,

Montana with a focus on pole fitness, silks hammock, and aerial hoop.

Ex. 10, Decl. of Sabrina Malecek, ¶ 4 (July 17, 2023).

     91.   Because some Bumblebee Aerial Fitness performances

feature costumes that are skin-tight in some parts of the body and

because the performances may feature pole dancing, Bumblebee Aerial

Fitness performers fear prosecution under HB 359. Id. ¶¶ 15, 18.

     92.   Bumblebee Aerial Fitness was scheduled to model for a

drawing class while on poles at Ascension Brewery in Helena, Montana,

but the event was cancelled because of HB 359. Id. ¶ 21.

     93.   Bumblebee Aerial Fitness was invited to perform at the

Rodney Street Block Party in Helena, Montana, but after the passage of

HB 359, the event organizers withdrew the invitation. Id. ¶ 22.

     94.   Overall, after the passage of HB 359, Bumblebee Aerial

Fitness    has   lost   beginner-level   performance     opportunities   as




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organizations have reacted to the uncertainty and repercussions of

HB 359. Id. ¶ 24.

     95.   The Roxy Theater is a nonprofit, community-owned theater

located in downtown Missoula, Montana. Ex. 11, Decl. of Mike Steinberg,

¶ 2 (July 17, 2023).

     96.   In July 2023, the Roxy Theater showed Asteroid City, a film

rated PG-13 by the Motion Picture Association. Id. ¶¶ 13–14.

     97.   In one scene of Asteroid City, the actress Scarlett Johansson

disrobes and steps into a bathtub. This scene meets HB 359’s definition

of “stripping” because it involves the removal of clothing in a sexual

manner for entertainment purposes and is thus a “sexually oriented

performance.” Id. ¶ 15.

     98.   In June 2023, the Roxy Theater hosted Queerwest Film Fest,

a film festival centered on the experience of LGBTQ+ individuals in the

American West. Id. ¶¶ 23–24.

     99.   As part of Queerwest Film Fest, the Roxy Theater hosted an

all-ages drag show featuring drag queens and drag kings. Id. ¶¶ 26–27.




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     100. During the Queerwest Film Fest drag show, performers

removed the outer layers of their costumes and wore prosthetic breasts,

with no resulting nudity. Id. ¶ 28.

     101. This drag show is a “sexually oriented performance,”

according to HB 359, and the Roxy Theater would be in violation of HB

359’s penalty provisions for featuring this performance to an all-ages

audience. Id. ¶¶ 10–12, 28–29.

     102. The Roxy Theater employs transgender people and drag kings

and drag queens who perform educational events at the theater. Id. ¶ 30.

     103. The Roxy Theater sometimes provides live accompaniment to

films, which include drag performances. Id. ¶ 37.

     104. The Roxy Theater receives state funding through the

Montana Arts Council. Id. ¶ 3.

     105. The Roxy Theater authorizes on-premises consumption of

alcohol. Id. ¶ 11.

     106. Because     the    Roxy     Theater   authorizes    on-premises

consumption of alcohol and displays films and events deemed “sexually

oriented performances” under HB 359, the Roxy Theater is a “sexually

oriented business” as understood by HB 359. Id. ¶ 12.



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      107. The Roxy Theater owners and employees fear they face

criminal and/or civil liability for continuing to show films with artistic

merit and continuing hosting events that may be deemed “sexually

oriented performances” under HB 359. Id. ¶¶ 39-42.

      108. The Myrna Loy is a theater and live event space in Helena,

Montana. Ex. 12, Decl. of Krys Holmes, ¶ 2 (July 16, 2023).

      109. The Myrna Loy receives state funding. Id. ¶ 3.

      110. The Myrna Loy authorizes the on-site consumption of alcohol.

Id. ¶ 10.

      111. The Myrna Loy has hosted films and live events that would

be deemed “sexually oriented performance[s]” under HB 359, including

live and recorded drag shows. Id. ¶ 7.

      112. Like the Roxy Theater, the Myrna Loy also screened Asteroid

City. Id. ¶ 12.

      113. Because the Myrna Loy authorizes on-premises consumption

of alcohol and displays films and events deemed “sexually oriented

performances” under HB 359, the Myrna Loy is a “sexually oriented

business” as understood by HB 359. Id. ¶ 11.




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        114. Myrna Loy owners and employees fear they face criminal

and/or civil liability for continuing to show films with artistic merit. Id.

¶ 18.

        115. The Montana Book Company is a bookstore located in Helena,

Montana. Ex. 13, Decl. of Chelsia Rice, ¶ 3 (July 17, 2023).

        116. The Montana Book Company has received state funding in the

form of COVID relief. Id. ¶ 7.

        117. The Montana Book Company has hosted drag story hours at

which drag queens and drag kings wearing prostheses have read books

to children. Id. ¶ 12.

        118. The Montana Book Company sells books and hosts readings

that include depictions of sexual content as defined in HB 359. Id. ¶ 8.

        119. At the Montana Book Company on June 21, 2023, the author

Debra Magpie Earling read from her novel The Lost Journals of

Sacajawea, which included descriptions of genitalia. Id. ¶¶ 9–10.

        120. Because the Montana Book Company plans to continue to host

events considered “sexually oriented performances” and sell material

with sexual content, its owners and employees fear criminal and civil

penalties under HB 359. Id. ¶¶ 14–15.



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     121. Imagine Brewing Company, d/b/a Imagine Nation Brewing

Company (“Imagine Nation”), is a community-oriented brewery and

community center located in Missoula, Montana. Ex. 14, Decl. of Tim

Graham, ¶ 5 (Nov. 16, 2023).

     122. Imagine Nation has hosted all-ages drag performances and

drag story hours and plans to continue to do so. Id. ¶¶ 15–19. Imagine

Nation sells alcoholic beverages during these events. Id. ¶ 10.

     123. Imagine Nation believes that, under HB 359’s definitions, it

is a “sexually oriented business” and therefore fears liability under the

law for hosting all-ages drag performances and drag story hours. Id.

¶¶ 14, 21.

     124. Montana Pride is Montana’s annual statewide LGBTQ+ Pride

celebration held in Helena, Montana. Ex. 15, Decl. of Kevin Hamm, ¶ 4

(July 17, 2023).

     125. Montana Pride includes drag performances. Id. ¶ 8.

     126. On July 13, 2023, the City of Helena informed Montana Pride

organizers that the city could not issue the requested event permits while

HB 359 remained in effect. Id. ¶ 14.




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     127. The Court granted a temporary restraining order blocking the

enforcement of HB 359 so that Montana Pride events could go forward

without the risk of liability under HB 359. Doc. 13 at 19–20.

     128. Lewis and Clark Library (“the Library”) is a state-funded

public library based in Lewis and Clark County. Ex. 17, Decl. of Ronald

Waterman, ¶¶ 5, 7 (Nov. 21, 2023).

     129. The Library has never planned to present any “drag story

time”; however, staff members and the board are concerned that the

Library’s anticipated programming might violate HB 359. Id. ¶ 10.

     130. For example, the Library hosts an annual outdoor film

festival. In 2023, it chose to display the classic film Some Like it Hot,

which features two male musicians who disguise themselves as female

musicians to escape from the mob. Id. ¶¶ 12–14.

     131. Concerned that the film exhibition might violate HB 359, the

Library Director planned to cancel the event, even though the Library

purchased the license to show the film, hired a projection company, and

paid for park permits. Id. ¶¶ 15–17.

     132. After HB 359 was temporarily enjoined, the Library decided

to go forward with the film screening. Id. ¶ 19.



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     133. Due to HB 359’s vagueness, members of the Library’s board

do not feel equipped to effectively advise the Library’s staff on how to

comply with the law. Id. ¶ 20.

     Respectfully submitted this 28th day of November, 2023.


                                       /s/Constance Van Kley
                                       Constance Van Kley
                                       Rylee Sommers-Flanagan
                                       Upper Seven Law




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                    CERTIFICATE OF SERVICE

     I hereby certify that this document was filed in CM/ECF on

November 28, 2023, and served upon all registered users.

                                       /s/ Constance Van Kley
                                       Attorney for Plaintiffs




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